






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00093-CV






In re Rhett Webster Pease






ORIGINAL PROCEEDING FROM LEE COUNTY




M E M O R A N D U M   O P I N I O N



		On February 13, 2008, relator Rhett Webster Pease filed an "Emergency Motion and
Notice of Constitutional Crisis and Request for Relief in the form of a Writ of Mandamus and a Writ
of Prohibition." (1)  The Office of the Attorney General of Texas filed a response on March 24, 2008. 
For the reasons that follow, we deny relator's emergency motion and his petition seeking writs of
mandamus and prohibition.

		"In mandatory venue mandamus actions, we look only to whether the trial court
clearly abused its discretion in ruling upon the motion."  In re Applied Chem. Magnesias Corp.,
206&nbsp;S.W.3d 114, 117 (Tex. 2006); Walker v. Packer, 827 S.W.2d 833, 839 (Tex. 1992).  "A trial
court clearly abuses its discretion if 'it reaches a decision so arbitrary and unreasonable as to amount
to a clear and prejudicial error of law.'"  Walker, 827 S.W.2d at 839 (citation omitted).  A writ of
prohibition issues to protect the subject matter of an appeal or to prohibit unlawful interference with
the enforcement of a superior court's judgments or orders.  See Tex. Gov't Code Ann. §&nbsp;22.221(a)
(West 2004); Holloway v. Fifth Court of Appeals, 767 S.W.2d 680, 682-83 (Tex. 1989).

		 In 2003, relator was divorced from his wife Janell Pease, and relator was ordered
to&nbsp;pay $443.75 per month in child support.  He appealed the divorce decree, and this Court affirmed
the judgment.  See Pease v. Pease, No. 03-03-00644-CV, 2004 Tex. App. LEXIS 8258, at *1
(Tex.&nbsp;App.--Austin 2004, no pet.) (mem. op.).  In 2005, the Attorney General filed a motion for
enforcement of relator's child support obligations, and the trial court signed an order enforcing
relator's obligations and rendering an arrearage judgment of $6,156.23 against relator.  The order
also found relator in contempt for failure to pay the court-ordered support and ordered him
committed to the county jail for 180 days.  Relator did not appeal this order.

		In 2006, the Attorney General filed another motion for enforcement of relator's
child&nbsp;support obligations.  Relator was served on January 17, 2007, and filed numerous pleadings
including a motion to transfer venue on July 10, 2007. (2)  After a hearing on September 20, 2007, in
which relator did not appear, the trial court denied relator's motion to transfer venue. Thereafter,
after a hearing in January 2008 on the motion for enforcement, the trial court ordered the issuance
of a capias, authorizing the arrest of relator and providing his release upon the posting of a cash bond
in the amount of $2,800.  Relator's commencement of this original proceeding followed.

		In this proceeding, relator contends that the trial court abused its discretion in denying
relator's motion to transfer venue, that the trial court is interfering with this Court's jurisdiction, and
that he has no adequate remedy by appeal.  Relator contends that the Attorney General and the trial
court are violating an "automatic stay" because of his appeal to this Court. (3)  Relator also contends
that the 2003 final divorce decree "is void and has always been void."

		As to the denial of relator's motion to transfer venue, under the family code, in a
suit&nbsp;to enforce an order that is filed in the court of continuing, exclusive jurisdiction, on a party's
timely motion, a court must transfer the suit to another county if the children have resided in the
other county for six months or longer.  Tex. Fam. Code Ann. §&nbsp;155.201(b) (West Supp. 2007).  For
a motion to be timely, it must be filed by the first Monday after the twentieth day after service
of&nbsp;citation or notice of suit or before the commencement of the hearing, whichever date is sooner. 
Id.&nbsp;§&nbsp;155.204(b) (West Supp. 2007).  Relator was served with the motion for enforcement in
January&nbsp;2007, setting the deadline for filing his motion to transfer venue in February 2007.  Relator
did not file his motion until July 2007, five months later.  Because relator's motion to transfer venue
was untimely, the trial court did not have a mandatory duty to grant the motion.  Relator also did not
appear for the hearing on the motion.  We conclude that the trial court did not abuse its discretion
in denying relator's venue motion. (4)

		Relator also contends that the trial court is interfering with this Court's jurisdiction
because his appeal to this Court automatically stayed the enforcement proceeding in the trial court. 
Under the family code, however, an appeal does not suspend an order unless the appellate court or
the court that rendered the order suspends the order.  Id. §&nbsp;109.002(c) (West 2002).  Because neither
the trial court nor this Court has suspended any order pending appeal, relator's appeal has not
resulted in the suspension of the trial court's order or the enforcement proceeding.

		Finally, as to relator's contention that the 2003 divorce decree is void, appellant
unsuccessfully appealed from the divorce decree, raising the issue that the decree should be rendered
void.  See Pease, 2004 Tex. App. LEXIS 8258, at *1-4.  He, therefore, had an adequate remedy by
appeal, precluding mandamus relief in this proceeding.  Packer, 827 S.W.2d at 839.

		Relator's motion for emergency relief and petition for writs of mandamus and
prohibition are denied.  See Tex. R. App. P. 52.8(a).





						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Filed:   April 3, 2008
1.   In this proceeding, Pease also filed "Appellant's Notice of Violation of Automatic Stay by
the Lee County District Clerk and the Texas Attorney General" and "Appellant's Emergency Motion
and Notice of Constitutional Crisis and Request to Set Aside a Void Order."  Pease further has filed
interlocutory appeals from cause number 12,380 in the 21st District Court of Lee County that were
dismissed for lack of jurisdiction.  See Pease v. Texas Att'y Gen., No. 03-07-00432-CV, slip op. at
1 (Tex. App.--Austin March 20, 2008, no pet. h.) (mem. op.); Pease v. Texas Att'y Gen., No. 03-07-00704-CV, slip op. at 1 (Tex. App.--Austin Jan. 8, 2008, no pet.) (mem. op.).  On February 12,
2008, Pease filed an additional notice of interlocutory appeal with this Court appealing an order
denying change of venue, an order regarding cash bond, and an order for capias.
2.   Relator attempted to file on February 21, 2007, a document titled "Apology to the Court
and Notice of Inability to Pay." The district clerk marked the document "received" apparently
because relator had been adjudged a vexatious litigant and prohibited from filing court documents
without the permission of the presiding administrative judge.  Since then, however, relator has filed
numerous pleadings with the trial court including an answer, counterclaim and jury demand, motion
to disqualify, motion for temporary orders pending appeal, and several notices of removal to federal
court.
3.   Relator also raises numerous other complaints, including that this matter was removed to
federal court.  This Court has addressed most of these complaints in one of his other appeals.  In any
event, we need not address these additional issues because relator has waived these complaints
by&nbsp;failing to provide authority and record support for his contentions.  See Tex. R. App. P. 52.3(h);
In re Rogers, 43 S.W.3d 20, 26 (Tex. App.--Amarillo 2001, orig. proceeding) (contentions in
mandamus waived by failure to cite authority).
4.   Relator contends that he was prevented from filing his motion to transfer venue timely
because the clerk would not file his pleadings.  According to the district clerk's testimony, relator
was allowed to file documents with the district clerk after obtaining permission from the chief
administrative judge.  Relator does not contend that he sought permission from the administrative
judge at any time prior to filing his motion to transfer venue or that he attempted to file during the
window of time that would have made his motion timely.


